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                 IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr134
                                     )   Hon. Carl J. Nichols
MARK SAHADY,                         )
      Defendant.                     )
____________________________________)

                       DEFENDANT’S AMENDED REPLY TO
                 GOVERNMENT OPPOSITION TO MOTION TO COMPEL

       Comes now Defendant Mark Sahady, by counsel, and files this reply to Government’s

Opposition to Motion to Compel.

       On November 17, 2021, Defendant moved the Court for leave to adopt the “Motion to

Compel Discovery in Support of Claim of Selective Prosecution” (ECF 138) made by Defendant

David Lee Judd in United States v. McCaughey, et al., DDC Case No. 21cr40.

       In its Opposition, the Government argues that Defendant should be not be permitted to

join Mr. Judd’s motion as he and Judd are charged with dissimilar crimes, and that Defendant’s

motion should independently fail as he is not charged with crimes similar to those with which the

Oregon protestors could have been charged. Opp. at 8-9.

        The Government’s arguments are of the same species -- that is Defendant cannot seek

discovery as to a selective prosecution claim where Defendant’s circumstances are not identical

to a named individual not subject to prosecution. But the Government’s argument does not

account for either the unprecedented nature of the Government’s prosecution or the degree of

coordination in its January 6th charging decisions.




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       First, the unprecedented nature of the Government’s prosecution. At last count, the

Government has brought charges against nearly 700 January 6th protestors. This is

unprecedented (the Government uses the term sui generis as if this is a defense). But this can

hardly serve as a defense. Indeed, it would be illogical for a test designed to hold the

Government to account to be weaker the more brazen is the Government’s conduct.

       Second, the coordination of the Government’s charging decisions. The Government

argues that Defendant should not be permitted to adopt Mr. Judd’s motion to compel and thereby

rely on the disparate charging decisions outlined therein. But, this again, ignores the unique

circumstances before the Court. Every indication suggests that DOJ Main justice rather than line

prosecutors are making the charging decisions for these 700 defendants. As such, if an

impermissible discriminatory purpose drove the prosecution decisions outlined by Mr. Judd’s

motion, it is only logical that, at least as far as the presumption of regularity goes for discovery

purposes, the same decision-maker would have the same animus when making charging

decisions related to Defendant.

       The Government relies on Armstrong to argue that the Court should deny Defendant’s

motion to adopt. Armstrong, however, is silent as to the issue here -- whether evidence of

impermissible animus by a prosecutor in one instance can be used in another instance where the

same prosecutor in the same context made a charging decision.

       In United States v. Armstrong, the Supreme Court confirmed that a prosecutor’s

discretion “may not be based on ‘an unjustifiable standard such as race, religion, or other

arbitrary classification’” and addressed the standard that must be met to obtain discovery in a

selective prosecution claim. 517 U.S. 456, 465 & 469 (1996). The Supreme Court concluded



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that to establish entitlement to discovery on a claim of selective prosecution the defendant must

make “a credible showing of different treatment of similarly situated persons.” Id. at 470.

       Armstrong’s discovery test is a tool, and a tool’s use should be informed by its purpose.

Armstrong’s test is designed to mediate two concerns – that inquiry into the prosecutor’s motive

encroaches on the special province of the executive and the right of the Defendant not to be

subjected to a federal prosecutorial policy that “had a discriminatory effect and … was motivated

by a discriminatory purpose.” Id. at 465 (quoting Wayte v. United States, 470 U.S. 598, 608

(1985)). In this instance, Armstrong’s purpose is furthered by permitting Defendant to proffer as

“credible showing of different treatment of similarly situated persons,” id. at 470, the disparate

charging decisions between the January 6th protestors and the Portland, Oregon protestors as set

out in Mr. Judd’s Motion to Compel Discovery. Permitting such a proffer does not lead to any

additional encroachment on executive decision-making while still protecting against the

consequences of charging decisions driven by discriminatory purpose.

       WHEREFORE the Court should grant Defendant’s Motion to adopt and further grant Mr.

Judd’s Motion to Compel as to Defendant.

                                      Respectfully Submitted,

                                      MARK SAHADY
                                      By Counsel

                                      ____/s/___________
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                               Certificate of Electronic Service

       I hereby certify that on December 14, 2021, I electronically filed the foregoing Amended
Reply with the Clerk of Court using the CM/ECF System, with consequent service on all parties.
                                                    ____/s/_____________
                                                    John C. Kiyonaga




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